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18                              UNITED STATES DISTRICT COURT
19                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
20 U.S. WECHAT USERS ALLIANCE,                    Case No. 3:20-cv-05910-LB
   CHIHUO INC., BRENT COULTER,
21 FANGYI DUAN, JINNENG BAO,                      DECLARATION OF RUSSELL M.
   ELAINE PENG, and XIAO ZHANG,                   JEUNG IN SUPPORT OF
22                                                PLAINTIFFS’ MOTION FOR
             Plaintiffs,
23                                                PRELIMINARY INJUNCTION
         v.
24 DONALD J. TRUMP, in his official               Judge: Hon. Laurel Beeler
   capacity as President of the United States,    Date: September 17, 2020
25 and WILBUR ROSS, in his official               Time: 9:30 a.m.
   capacity as Secretary of Commerce,             Crtrm.: Remote
26
                 Defendants.                      Trial Date:       None Set
27
28

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 1                 I, Russell M. Jeung, declare:
 2                                   QUALIFICATIONS AS AN EXPERT
 3                 1.     I am a Professor of Asian American Studies at San Francisco State
 4 University. I have personal knowledge of the matters stated herein and if called as a
 5 witness I could and would testify competently to them. I have been retained by plaintiffs’
 6 counsel as an expert witness. I make this declaration in support of Plaintiffs’ Motion for a
 7 Preliminary Injunction.
 8                 2.     After teaching a year in China and working for the Mayor of San Francisco, I
 9 obtained my doctorate in Sociology at the University of California, Berkeley in 2000. I am
10 the author of five books on Chinese Americans, race and religion, including Family
11 Sacrifices: The Worldviews and Ethics of Chinese Americans (Oxford University Press,
12 2019); Mountain Movers: Student Activism and the Emergence of Asian American Studies
13 (UCLA Asian American Studies Center, 2019); and At Home in Exile: Finding Jesus
14 Among My Ancestors and Refugee Neighbors (Zondervan, 2016). Attached as Exhibit A is
15 a copy of my Curriculum Vitae.
16                 3.     In Ethnic Studies, we pride ourselves on being grounded within the
17 communities we study. The national Association of Asian American Studies awarded me
18 as “Community Engaged Scholar” for my community-based research in San Francisco’s
19 Chinese neighborhoods, as well as my work with refugee populations. I have served on the
20 board of directors of the Chinese Historical Society of America, and have conducted
21 research on behalf of organizations such as the Chinese Community Development Center,
22 the Chinese Progressive Association, and the NICOS Chinese Health Coalition.
23                 4.     Recognizing that COVID-19 would be blamed on Asians just as SARS was
24 in 2003, I established Stop AAPI Hate, a project of Chinese for Affirmative Action, the
25 Asian Pacific Policy and Planning Council, and SF State Asian American Studies. We
26 developed a reporting center to collect first-hand incidents of COVID-19 discrimination, to
27 provide resources for our respondents, to track trends in racism, and to develop evidence-
28 based policy interventions to racism. From mid-March through the start of August, Stop

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 1 AAPI Hate has received over 2,500 reports of racism. Due to our analyses, our work has
 2 been featured both nationally and internationally, including the New York Times,
 3 Washington Post, Los Angeles Times, USA Today, Time magazine, and NPR.
 4                 5.   Because of my publications and research record, my twenty years of teaching
 5 Asian American Studies, and my strong community ties, I am one of the leading experts on
 6 the racism experienced by Asian Americans at the current moment. Indeed, the
 7 Congressional Asian Pacific Caucus, California Asian Pacific Islander Legislative Caucus,
 8 and other government agencies have consulted with Stop AAPI Hate and me regarding the
 9 discrimination faced by Chinese Americans today.
10                 6.   My opinions set forth below are based upon my professional knowledge and
11 my experiences working in the field of Asian American Studies, and I am able to offer the
12 following opinions.
13                      HISTORY OF RACISM AGAINST CHINESE AMERICANS
14                 7.   The current surge of racism against Asian Americans fits a pattern that has
15 been repeated in American history. In times of 1) epidemic; 2) economic downturn; and 3)
16 war, Asian Americans have been cast as the Yellow Peril, that is, threats from the East to
17 come and dominate the West. Subsequently, we are “perpetual foreigners,” met with both
18 interpersonal violence and racist policies. Knowing this history, we established Stop AAPI
19 Hate in order to document the scapegoating of Chinese and Asian Americans that we knew
20 would inevitably occur. In fact, now in the summer of 2020, we are facing all three of
21 these factors fomenting racism: a global pandemic, the worst economic downturn since the
22 Great Depression, and an emerging Cold War with the People’s Republic of China. A
23 review of Chinese and Asian American history demonstrates how the fear of the Yellow
24 Peril leads to both individual and institutional discrimination.
25                 8.   Once Chinese came to the United States in large numbers during the Gold
26 Rush, they were immediately met with hostility and legalized discrimination. White miners
27 drove out the Chinese from the minefields and the new State of California instituted the
28 Foreign Miners Tax in 1850. Revenue from Chinese constituted 50% of the state

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 1 government’s income through 1870. In the case of People v. Hall, 4 Cal. 399, 404-405, in
 2 1854, the California Supreme Court ruled that the testimony of Chinese against whites was
 3 inadmissible as the former were categorized, like Blacks and Indians, as “a race of people
 4 whom nature has marked as inferior, and who are incapable of progress or intellectual
 5 development beyond a certain point”
 6                 9.    During the American recession from 1873-1878, the white Workingman’s
 7 Party rose to power by getting elected with the slogan, “The Chinese Must Go!” Early on,
 8 the San Francisco Chronicle newspaper incited the fear of the Yellow Peril with headlines
 9 that read, “The Chinese Invasion! They Are Coming, 900,000 Strong." As whites
10 complained that cheap Chinese labor stole jobs from white union men, they supported
11 national legislation such as the Page Act of 1875, which effectively barred Chinese women
12 from migrating to the United States.
13                 10.   During this period, health officials blamed Chinese for the epidemics of
14 malaria, smallpox and leprosy. One cover of The WASP, a weekly magazine founded and
15 published in San Francisco in 1876, depicted the specters of these three diseases emanating
16 from Chinatown. A report of the State Board of Health in 1871 deemed the Chinese as
17 “inferior in organic structure, in vital force, and in the constitutional conditions of full
18 development.”
19                 11.   Anti-Chinese hostility rose to such a level that over 300 Chinese settlements
20 along the West Coast were driven out in the late 18th and early 19th century, including
21 those in Oakland, San Jose, and Tacoma. My own family’s fishing village of over 200
22 residents, which had been established for over fifty years in Monterey, was burned down in
23 1906 and the Chinese were not allowed to resettle there.
24                 12.   Ethnic economic competition, fear of epidemics, and the racialization of
25 Chinese as unassimilable pagans culminated in the Chinese Exclusion Act of 1882, the
26 first piece of legislation that excluded a racial group from the United States. This act would
27 be re-enacted with the Geary Act of 1892 and remain until its repeal in 1943, when China
28 became a wartime ally with the United States against Japan.

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 1                 13.   Health concerns have thus led not only to violence, but also to racist policies
 2 that excluded, quarantined, detained, and deported Chinese. When the bubonic plague was
 3 found in San Francisco’s Chinatown in 1900, health officials cordoned off and quarantined
 4 the neighborhood, allowing white people to leave but segregating Chinese. That same year,
 5 the Chinatowns of Honolulu and Santa Ana were burnt down due fears of infested
 6 buildings. The Angel Island Immigration Station was established in 1910, and arrivals
 7 from China had to pass medical inspections and interrogations designed to keep out the
 8 medically unfit and illegal immigrants.
 9                 14.   Like fear of epidemics, wartime hysteria spurred racism against Japanese
10 Americans during World War II. Racialized as perpetual foreigners and enemies who were
11 not to be trusted, over 110,000 Japanese, most of them American citizens, were
12 incarcerated in ten concentration camps across the nation.
13                 15.   Similarly, the Cold War against Communism and the Red Scare of the 1950s
14 resurrected the Yellow Peril fear once again and led to the persecution of Chinese
15 Americans. As Senator McCarthy hosted hearings in Washington DC and J. Edgar Hoover
16 investigated leftist groups, the Chinese Confession Program ostensibly aimed to allow
17 Chinese illegal immigrants to confess their migration violations and gain legal status.
18 However, this program simply sowed fear and mistrust within the Chinese American
19 community, as an individual’s confession could implicate dozens of others and lead to
20 their deportation.
21                 16.   Other instances where the Yellow Peril threat was invoked and anti-Asian
22 racism spiked include Vincent Chin’s murder, the SARS epidemic and the racialization of
23 Muslims after 9/11. During a recession in 1982 when the Japan auto industry became a
24 major economic threat, laid-off white auto-workers encountered Vincent Chin at a bar.
25 Mistaking him for being Japanese, they beat him to death yet only served three years’
26 probation. At the outbreak of SARS in 2003, “coughing while Asian” became a common
27 phrase among Asian Americans, as we were subject to racial profiling and harassment for
28 this disease from Asia. The Centers for Disease Control quickly assessed the

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 1 stigmatization of Asian Americans and took steps to remedy the fear. Finally, since 9/11,
 2 Muslims –and those racially profiled as terrorists—have been targets of racism and anti-
 3 Asian violence as the US entered its War on Terrorism. Most tragically, in 2012 a gunman
 4 killed seven people and wounded four others at a Sikh gurdwara in Wisconsin.
 5                 17.   In sum, the current surge in anti-Asian racism reflects a clear pattern of
 6 America’s history of discrimination. In times of epidemic, economic downturn, and war,
 7 the fear of the Yellow Peril heightens and Asians become targets of interpersonal violence
 8 and racist policies.
 9                       THE CURRENT PANDEMIC AND THE WECHAT BAN
10                 18.   While pandemics might instill fear among people, inflammatory political
11 rhetoric clearly can scapegoat a marginalized group and stoke anger and racism directed at
12 them. Stop AAPI Hate has reported on the clear correlation of President Donald Trump’s
13 statements and tweets and the rise in anti-Asian racism during COVID-19. Indeed, the
14 week when he insisted on using the term, “Chinese virus,” reports to our tracking center
15 reached their apex and we received one hundred reports daily from across the nation.
16                 19.   In our analysis of news accounts about COVID-19 discrimination, we
17 detected a chronological pattern of racist political discourse leading to acts of
18 discrimination. Media would first cover xenophobic policies or statements by elected
19 officials, such as the Republic party officials suggesting conspiracy theories about
20 COVID-19’s origins or Trump’s travel ban. Following these stories, the next types of
21 media accounts would be about economic boycotts of Chinese businesses and later, acts of
22 discrimination against individual Asian Americans.
23                 20.   This relationship between political rhetoric, hate speech, and acts of anti-
24 Asian racism could also be seen in our analysis of incidents submitted to Stop AAPI Hate.
25 In over one out of four hate incidents (27%), assailants specifically mentioned the terms
26 “China” or “Chinese.” In these cases, they mimicked President Trump’s language by 1)
27 blaming China as the source of the disease (32%); 2) invoking anti-immigrant nationalism
28 by telling individuals to “go back to China” (20%); 3) or parroting the term, “Chinese

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 1 virus” (18%). Furthermore, 38% of the cases included virulent profanity against Chinese.
 2 Some examples include:
 3                 •     Middle-aged Caucasian man loitering in front of Chinese restaurant and
 4                       bakery, openly (theatrically) coughing and spitting and exclaiming that “It
 5                       smells like dog shit here!” He then exclaimed “God bless Trump!” before
 6                       pretending to call the immigration authorities.
 7                 •     I was taking a brief walk for fresh air and exercise, a random person on the
 8                       opposite side of the street screamed at me "Go fucking die, you chink! All
 9                       you Chinks brought us the Chinese virus!"
10                 •     Yelled “Chinese, go back to your country!” then threw their soda at me from
11                       a moving vehicle in my neighborhood.
12                 •     A woman sitting at a bus stop was screaming at myself and other Asians that
13                       she saw walking. She said that we were "dirty Chinese", that we were trying
14                       to take over the US, and that we "should go back to our f**king country"
15                       among other things.
16                 •     While I was trying to pick a bike at the dock station, an employee who was
17                       changing the batteries on e-bikes yelled at me and said "Spray that s**t".
18                       This employee went on and said, "the Chinese invented the virus and Donald
19                       Trump knows it."
20                 21.   Likewise, another very recent study shows that President Trump’s viral hate
21 speech results in racial animus. “From Fear to Hate: How the COVID-19 Pandemic Sparks
22 Racial Animus in the United States,” July 20, 2020, by Runjing Lu and Yanying Sheng,
23 reveals that the rise in the animosity directed at Asians “is stronger on days when the
24 connection between the disease and Asians is more salient, as proxied by President
25 Trump's tweets mentioning China and COVID-19 at the same time.”
26 https://acsweb.ucsd.edu/~rul053/pdfs/Draft_covid19_racial_animus_Salience.pdf (under
27 submission for publication).
28                 22.   When confronted about his inflammatory language, President Trump denies

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 1 that his choice of terms for COVID-19, such as “plague from China” or “kung flu” are
 2 racist or stigmatizing. Yet even his denial of his racism reveals an insider/outsider binary
 3 described as Orientalism. He tweeted, “the spreading of the Virus is not their fault in any
 4 way, shape or form. They are working closely with us.” Clearly, he distinguishes between
 5 the Asian perpetual foreigner (they) from “real” Americans (us).
 6                 23.    The Trump administration has used the COVID-19 pandemic as a rationale
 7 to implement the anti-immigrant agenda which already included the Muslim Ban and the
 8 detention of families at the border. Since the pandemic hit the United States, he has
 9 implemented a wholesale Immigration Ban, blocking the issuance of permanent visas,
10 suspended the entry of Chinese STEM graduate students, proposed banning international
11 students who are only taking online courses, and now, has ordered the ban of transactions
12 on TikTok and WeChat.
13                 24.    Unfortunately, the latter ban disproportionately impacts the Chinese
14 American immigrant community, which numbers roughly 2.5 million. Beyond utilizing the
15 app to maintain family communications with those overseas, Chinese Americans employ
16 WeChat to conduct their business, to gain needed and accessible public information for
17 health and safety, and to engage religiously and politically.
18                 25.    Four out of ten Chinese in the United States—and six out of ten of Chinese
19 who are foreign-born—are limited English proficient. This high proportion of our
20 community cannot access English social media platforms and require WeChat for their
21 communications.
22
23                 I declare under penalty of perjury under the laws of the United States and the State
24 of California that the foregoing is true and correct, and that this declaration is executed
       Oakland
25 at_____________,                   25th day of August, 2020.
                    California this _____
26
27
                                                         Russell M. Jeung
28

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                        Exhibit A
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                                         RUSSELL JEUNG
                                         2440 East 16th Street
                                       Oakland, California 94601
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                                   PROFESSIONAL EXPERIENCE

San Francisco State University, College of Ethnic Studies, 2002 - present
Chair and Professor

Tamkang University, Graduate School of American Studies, 2009
Fulbright Scholar

Foothill College, Sociology Department, 2000-2002
Assistant Professor

Assistant to Mayor Art Agnos, 1987-1990
San Francisco, CA

                                            EDUCATION

Ph.D.        University of California, Berkeley
             Sociology, 2000

MA           University of California, Berkeley
             Sociology, 1994

MA           Stanford University
             Education, 1984

BA           Stanford University
             Human Biology/Child Development, 1984

                                       BOOK PUBLICATIONS

Family Sacrifices: The Worldviews and Ethics of Chinese Americans
        New York: Oxford University Press, 2019.

Mountain Movers: Student Activism and the Emergence of Asian American Studies
       Edited with K. Umemoto, H. Dong, E. Mar, L.H. Tsuchitani, and A. Pan, Los Angeles: UCLA
       Asian American Studies Center, 2019

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Faithful Generations: Race and New Asian American Churches.
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The Oak Park Story
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“Bridging A/Moral Divide: Asian American Studies 101 for Activists and a Community-Responsive
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     Liu)
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       For Community Youth Center, San Francisco, May 2012

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“Chinese Community Health Fair 2011”
        For NICOS Health Coalition, June 2012

“Chinese American Displaced Manufacturing Workers”
       For Chinese Progressive Association and San Francisco Labor Council, San Francisco, CA,
       September 2011.

“Impact of Education Budget Cuts and Early Start”
       For California Faculty Association, San Francisco, CA, March 2011

“API Connections Wellness Survey”
       For API Connections, Oakland, CA , Dec. 2010

”English Center Survey” (co-written with Danilo Gecale)
        For English Center, Oakland, CA, January 2010.

                                      HONORS and AWARDS

Association of Asian American Studies Engaged Scholar Award, 2017
San Francisco State University Sabbatical Award, 2014
Virginia Seminar in Lived Theology Writing Fellowship, University of Virginia, 2012.
San Francisco State University CUE Grant, “Burmese Refugee Policy Report,” 2011
San Francisco State University Community-based Participatory Research Award, “Health Screenings in
         Low-income Asian American Communities,” 2010
Center for Asian American Media Post-Production Award, “Oak Park Story,” 2010
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Bay Area Video Coalition Media Maker Award, “Oak Park Story,” 2010
Fulbright Scholar Award, Tamkang University, Taiwan, 2008
Super Urban Areas Security Initiative grant, “Disaster Preparedness in Vulnerable Populations,” 2007
National Poverty Center fellowship, “The Impact of Religion and Faith-Based Organizations on the Lives
          of Low Income Families” conference, June 2007
Creative Works Fund Grant for video documentary, “The Oak Park Story,” 2006
Minority Research Infrastructure Program Fellowship, 2006
Engaged Scholars Fellowship, Congregational Studies Team, 2005
Institute for the Study of American Evangelicals Luce Grant, 2004
Award of Excellence First Prize (Gung Ho To Shave Ray’s Hair), Associated Church Press, 2004
Cesar Chavez Institute Research Fellowship, 2004
San Francisco State University Presidential Award, 2003
San Francisco State University Affirmative Action Award, 2003
Outstanding Graduate Student Instructor, U.C. Berkeley Dept. of Sociology, 2000
Robert McNamara Student Paper Award, Association for the Sociology of Religion, 1999
Dean’s Dissertation Year Fellowship, U.C. Berkeley, 1998; 1999
Doreen Townsend Center for the Humanities Program Grant, U.C. Berkeley, 1996 - 1999
Department of Sociology Research Fellowship, U.C. Berkeley, 1995
Graduate Opportunities Fellowship, U.C. Berkeley, 1991 - 1992
Okura Mental Health Fellowship, Washington D.C., 1991



                                      COMMUNITY SERVICE

Board Chair                   New Hope Covenant Church, 2001- 04; 2008 – 2009, 2012- Present
Editorial Board               Chinese America: History and Perspectives Journal, 2006 – 2012
Cmte Member                   Alameda County Social Services Refugee Strategic Plan, 2012- 2013
Funding Committee             Asian Pacific Fund, 2003
Strategy Committee            Stop Chinatown Evictions, 2003
Community Volunteer           APA Coalition for an Informed California, 2003
Secretary and Board Member    Chinese Historical Society of America, 2003 – 05
Planning Committee            Association for Asian American Studies Conference, 2003
Task Force Appointee          City of Oakland Decent Housing Task Force, 2000
Commission Appointee          City of Oakland Fund for Children and Youth, 1997


                                CAMPUS SERVICE- UNIVERSITY

Advisory Committee            Institute for Civic and Community Engagement, 2017 -- Present
Member                        Academic Program Review Committee, 2016 – Present
Ambassador                    Academic Technology Open Educational Resources, 2017-18
Participant                   All University Sneak Preview, 2011-2015; 2018-2019
Member                        Campus Advisory Committee for Selection of New President, 2012
Co-Author                     Professional Development Report for Dean of Faculty Affairs, 2012
Senator                       Academic Senate, 2010-2011
Member                        Academic Program Review Committee, 2011
Member                        Curriculum Review and Approval Committee, 2010


                      CAMPUS SERVICE- COLLEGE AND DEPARTMENT

Chair                         BA Curriculum Committee, 2013- 2014
Chair                         Hiring Committee, 2012
Member                        RTP Committee, 2011-2015
Member                        Academic Review Committee of Dean, 2011
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Chair               Hiring Committee for Cesar Chavez Institute, 2007
Member              Scholarship Committee, 2009-2015
